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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

   SARABETH DEMARTINO,

                 Plaintiff,                      CASE NO: 22-cv-14301-CANNON
                                                 JUDGE AILEEN M. CANNON
   vs.

   EMPIRE HOLDINGS AND
   INVESTMENTS, LLC; and JUAN
   CARLOS MARRERO,

                 Defendants.              /


          PLAINTIFF’S MOTION FOR SANCTIONS PURUSANT TO RULE 37(e)

         Plaintiff, SARABETH DEMARTINO (“Ms. DeMartino” or “Plaintiff”), by and through

  undersigned counsel, and pursuant to Rule 37(e) of the Federal Rules of Civil Procedure (“Rule

  37”), moves this Honorable Court for an Order awarding sanctions against Defendant JUAN

  CARLOS MARRERO (“Defendant Marrero”), and in support thereof, states:

                                 PRELIMINARY STATEMENT

         Based on Plaintiff’s own experience, Defendant Marrero “would text employees of

  Christi’s on an ongoing basis regarding various matters related to Christi’s, including on some

  occasions Sara DeMartino.” Yet, when it came time to produce these text messages in the

  litigation, the only text messages preserved by Defendant Marrero were those with Plaintiff.

  Defendant Marrero knew he had an obligation to preserve documents related to Plaintiff’s legal

  claims, but he lost and/or deleted the text messages from two separate iPhones. Plaintiff cannot

  reasonably obtain the deleted text messages from every other Empire employee, or candidate who

  applied for the manager position, and it is questionable whether these individuals would have

  preserved text messages from almost two years ago. Even though Defendant Marrero denies

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  seeking candidates for a manager position at Christi’s, at least one candidate who applied for a

  manager position at Christi’s no longer has his text messages with Defendant Marrero. Defendant

  Marrero’s completely implausible explanations for how or why the text messages were deleted

  from his two iPhones fare no better. As detailed below, sanctions are warranted under Rule 37(e).

                                             ARGUMENT

          Rule 37(e) governs sanctions for spoilation of electronically stored information (“ESI”).

  To warrant sanctions under Rule 37(e), four threshold conditions must be met: (1) there must have

  been a duty to preserve ESI; (2) the ESI must have been lost or destroyed; (3) the ESI must have

  been lost due to the party’s failure to take reasonable steps to preserve it; and (4) the ESI must not

  have been restorable or recoverable through additional discovery. See Burns v. Medtronic, Inc.,

  2017 WL 11633269, at *3 (M.D. Fla. Aug. 9, 2017); Akkasha v. Bloomingdales, Inc., 2019 WL

  11215918, at *4 (S.D. Fla. Oct. 18, 2019); Sosa v. Carnival Corp., 2018 WL 6335178, at *10 (S.D.

  Fla. Dec. 4, 2018). If the four conditions are met, “a court may only award sanctions under

  subsection (e)(1) if it finds ‘prejudice’ to another party, or under subsection (e)(2) if it finds that

  the spoliating party acted with the ‘intent to deprive’ the opposing side of ESI.” Doe v. Willis,

  2023 WL 2918507, at *5 (M.D. Fla. April 12, 2023) (quoting Rule 37(e)); Akkasha, 2019 WL

  11215918, at *4. As discussed below, because Plaintiff can establish each of the four elements,

  sanctions are warranted for Defendant Marrero’s intentional deletion of text messages relevant to

  this action.

          A.     Defendant Marrero Admits He Was Under a Duty to Preserve Text Messages

          Defendant Marrero knew he had a duty to preserve documents related to this action,

  including the text messages at issue here, at the time they were deleted. His written discovery

  responses and sworn deposition testimony confirm the same. See Relevant Excerpts from



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  Response to First Request for Admission to Defendant Juan Carlos Marrero, attached as Exhibit

  (“Ex.”) A, at No. 1; see also Relevant Excerpts from Deposition of Juan Carlos Marrero (“Marrero

  Dep. II”), September 14, 2023, attached as Ex. B, at 35:23-25 (testifying that he knew not to delete

  text messages). Thus, Defendant Marrero was unquestionably aware of his duty to preserve the

  text messages from his employment with Empire.

         B.      Defendant Marrero Both Lost and Destroyed Text Messages He Sent and
                 Received During his Employment with Empire

         The second element—that ESI was lost or destroyed—is also met. Here, Defendant

  Marrero used two iPhones (an old iPhone and a new iPhone) that contained text messages he sent

  and received during the relevant time period. Exactly when Defendant Marrero purchased a new

  iPhone is subject to inconsistent evidence but, at his deposition on June 12, 2023, Defendant

  Marrero testified that he bought a new phone in the “the beginning of year,” referring to the

  beginning of 2023. See Relevant Excerpts from Deposition of Juan Carlos Marrero (“Marrero

  Dep.”), June 12, 2023, attached as Ex. C, at 265:11-12. Thereafter, Defendant Marrero produced

  a Verizon contract showing that he last purchased an iPhone on December 24, 2021. While one

  would think that Defendant Marrero should be able to remember whether he got a new phone in

  the beginning of 2023 (six months prior) versus the end of 2021 (eighteen months prior), this

  inconsistency remains unexplained.

         Even assuming the new iPhone was purchased at the end of 2021, as the Verizon contract

  shows, Defendant Marrero testified that he transferred everything from his old iPhone to his new

  iPhone, including text messages he sent and received during his employment at Empire. See

  Marrero Dep. at 265:11-12; Marrero Dep. II at 33:10-17. Defendant Marrero lost and/or deleted

  text messages since they were no longer accessible on his new iPhone. Marrero Dep. II at 33:18-

  21. As for his old iPhone, Defendant Marrero testified that he wiped the device. Marrero Dep. II

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  at 36:12-19. Thus, Defendant Marrero lost or deleted the text messages on both his old iPhone

  and new iPhone despite knowing he had an obligation to preserve his text messages. The

  implausible explanation for these actions is discussed infra.

         C.      Mr. Marrero Failed to Preserve His Text Messages

         The third element examines whether the offending party failed to take reasonable steps to

  preserve his text messages. The advisory committee notes to Rule 37 explain that reasonable

  efforts do “not call for perfection,” and instruct that a “court should be sensitive to the party’s

  sophistication with regard to litigation in evaluating preservation efforts; some litigants,

  particularly individual litigants, may be less familiar with preservation obligations than others who

  have considerable experience in litigation.” Doe, 2023 WL 2918507, at *7 (citing Advisory Notes).

         Here, Defendant Marrero’s testimony about his search for responsive text messages is both

  troubling and misleading. While Defendant Marrero may not be a sophisticated litigant, he was

  fully aware of his obligation to preserve his text messages. See Marrero Dep. II at 35:23-25.

  During his deposition, Defendant Marrero admitted that he did not check his text messages for

  responsive documents in connection with this litigation. Marrero Dep. at 265:2-10. Specifically,

  Defendant Marrero testified, “No, I did not check my text messages, no. I have a new phone. I

  don’t have, like, things that I can go back track through text messages or anything like that. So, I

  don’t have records on my phone.” Marrero Dep. at 265:7-10. He further testified that he made no

  attempt to search his computer to look for text messages once he was named a defendant in this

  action. Marrero Dep. at 265:21-24. And worse, Plaintiff was not alerted to the fact that Defendant

  Marrero had lost or deleted his text messages until Plaintiff’s counsel learned about the missing

  documents during his deposition.




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         To mitigate against deleting the text messages, Defendant Marrero testified that he took

  screen shots based on instructions given by his counsel and that he believed he did not miss

  anything “because my lawyers filtered everting out and they looked through everything, and we

  had many, many conversations about this for – for several times.” Marrero Dep. II at 15-22. Thus,

  Defendant Marrero had the text messages at a point when he knew he was implicated in this

  litigation and had a duty to preserve documents. However, when questioned about the attorney

  with whom he allegedly reviewed his text messages, Defendant Marrero’s incompatible testimony

  only furthered Plaintiff’s suspicion. Specifically, Defendant Marrero testified that he reviewed the

  text messages with his attorney, Ranjiv Sondhi, to make sure “we had everything.” Marrero Dep.

  II at 36:3-5. However, Mr. Sondhi was not the first lawyer assigned to the case and only entered

  his appearance on November 4, 2022, well after the action was filed. Marrero Dep. II at 33:21-

  23. Thus, Defendant Marrero’s testimony about reviewing the text messages with his current

  counsel either cannot be true or is inconsistent with his other testimony about not reviewing the

  text messages in connection with this litigation.

         Moreover, some of the text messages that Defendant Marrero claimed he preserved no

  longer exist. Defendant Marrero testified that he saved over 100 pages (screenshots) of text

  messages, only 64 of which were text messages with Ms. DeMartino. Marrero Dep. II at 34:5-19.

  Defendants ultimately produced the 64 pages of text messages with Ms. DeMartino, on August

  14, 2023—two months after Defendant Marrero’s deposition and nearly eleven months into the

  litigation. Worse, the other 36 (or more) pages of text messages with individuals other than

  Plaintiff have not been produced and purportedly no longer exist.

         Even assuming Defendant Marrero reviewed his text messages at one point, Defendant

  Marrero did not review them in connection with Plaintiff’s First Requests for Production of



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  Documents, served on December 9, 2022. It would, therefore, be impossible for Defendant

  Marrero or his attorney to be able to search for all text messages responsive to the requests. Ahrens

  Enters., Inc. v. Winning, 2019 WL 12520080, at *4 (S.D. Fla. Apr. 18, 2019) (finding that a party

  did not meet his reasonable preservation obligations where he deleted emails prior to a forensic

  review because “[it] was not for [him] to unilaterally decide what might or might not be relevant”);

  Paisley Park Enter., Inc. v. Boxill, 330 F.R.D. 226, 235 (D. Minn. 2019) (“[T]he [defendants] do

  not get to select what evidence they want to produce, or from what sources. They must produce all

  responsive documents or seek relief from the court.”) (citing Fed. R. Civ. P. 26(c)). And, given

  that the only text messages produced were those between Defendant Marrero and Ms. DeMartino,

  one can assume that Mr. Marrero was only instructed to provide his text messages with Ms.

  DeMartino.

         The obvious deficiencies in Defendant Marrero’s collection and retention efforts are

  supported by his own admissions. Notably, Defendant Marrero claimed he “preserved all of [his]

  text messages related to Sara DeMartino before acquiring a new phone in the beginning of 2022.”

  See Ex. A, Response No. 2. But Defendant Marrero also asserted that, during his employment, he

  “would text employees of Christi’s on an ongoing basis regarding various matters related to

  Christi’s, including on some occasions Sara DeMartino.” Id. at Nos. 3 and 4 (emphasis added).

  Therefore, Defendant Marrero essentially admits that he did not review and preserve all his text

  messages related to Christi’s that may be responsive to Plaintiff’s document requests, including

  text messages with other Empire employees about the club’s performance or with potential

  candidates for the Manager position at Christi’s during Plaintiff’s employment. Thus, Defendant

  Marrero failed to preserve all potentially relevant text messages before they were lost or deleted.




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         D.      All of Defendant Marrero’s Potentially Relevant Text Messages Cannot Be
                 Retrieved from Another Source

         As mentioned above, the only text messages preserved by Defendant Marrero were those

  with Plaintiff, which she also has, and produced, in this litigation. Empire has not produced a

  single text message between Defendant Marrero and any other employee of Empire. Defendant

  Marrero also claims he does not have any backup that would enable him to recover the missing

  text messages. See Relevant Excerpts from Defendant’s Objections and Responses to Plaintiff’s

  Second Requests for Production, attached as Ex. D, at No. 8. And, theoretically, even if Plaintiff

  were able to identify the potential universe of people with whom Defendant Marrero may have

  communicated, via text message, about issues relevant to this case, Plaintiff cannot possibly

  subpoena text messages from every employee of Empire, or applicant for the Manager position,

  and it is also doubtful that all of individuals still have their text messages. Plaintiff only recently

  learned that an applicant interviewed by Defendant Marrero remembers texting with him about the

  position, but that applicant no longer has those text messages. See Declaration of Kyle Burney,

  attached as Ex. E, at ¶ 12. Plaintiff has no idea how many other candidates Defendant Marrero

  texted, and as discussed infra, Plaintiff was only provided a full list of the candidates at the end of

  discovery.

         Based on the above, Defendant Marrero is the most viable source through which relevant

  text messages could be produced in the litigation. This is sufficient to meet the third threshold

  element. See Living Color, 2016 WL 1105297, at *5 (finding that even where the “great majority”

  of missing text messages were provided by another party and therefore were not “lost,” it was

  appropriate to continue the Rule 37(e) analysis since “it appear[ed] that at least some of the text

  messages at issue were not replaced”); Laub v. Horbaczewski, 2020 WL 9066078, at *4 (C.D. Cal.

  July 22, 2020) (agreeing with the defendants that the plaintiff’s “destruction of his iPhone, without

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  first backing up the information on it, likely resulted in the loss of ESI—namely, text conversations

  between [the p]laintiff ... and third parties—and [that] those conversations cannot now be restored

  or replaced”) (citation omitted); In re Skanska, 340 F.R.D. 180, 187 (N.D. Fla. 2021) (“At best,

  [the defendant] can merely represent that some of the text messages ... were produced from other

  custodians. Thus, ‘it will never be known whether such information would or would not have been

  cumulative because it is impossible to know what it was or to whom it may have been

  communicated.’”) (quoting Paisley Park, 330 F.R.D. at 235).

         Because Defendant Marrero took no affirmative steps to attempt to preserve his text

  messages, Plaintiff has arranged for a forensic data recovery company to attempt to recover the

  deleted text messages once stored on Defendant Marrero’s new iPhone.1 In the event Defendant

  Marrero’s texts can be recovered, Plaintiff will update the Court accordingly.

         E.      In Addition to Prejudice, the Record Supports that Defendant Marrero Acted
                 with the Intent to Deprive

          After the four threshold requirements for sanctions are met, “the Court must analyze the

  facts at hand under subsection (e)(1) if there is a finding of ‘prejudice’ or under subsection (e)(2)

  if there is a finding of ‘intent to deprive.’” Keim v. ADF Midatlantic, LLC, No. 12-CV-80577,

  2016 WL 7048835, at *6 (S.D. Fla. Dec. 5, 2016). The two subsections of Rule 37(e) operate

  independently, and a finding that there was an intent to deprive does not require a finding of

  prejudice. See Fed. R. Civ. P. 37(e), advisory committee notes to 2015 amendment (noting that

  Rule 37(e)(2) “does not include a requirement that the court find prejudice to the party deprived

  of the information”); Tripp v. Walmart, Inc., 2023 WL 399764, at *8 (M.D. Fla. Jan. 25, 2023)



  1
         Since data from an iPhone cannot be restored after it is wiped through a factory reset, the
  text messages that existed on Defendant Marrero’s old iPhone are permanently deleted and cannot
  be recovered.

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  (“Rule 37(e)(2) applies regardless of whether [a c]ourt finds prejudice[.]”) (citing Fed. R. Civ. P.

  37(e), advisory committee notes to 2015 amendment); Nationwide Life Ins. Co. v. Betzer, 2019

  WL 5700288, at *10 (M.D. Fla. Oct. 28, 2019) (commenting that a finding of prejudice is not

  necessary for a finding of an intent to deprive); O’Berry v. Turner, 2016 WL 1700403, at *4 (M.D.

  Ga. Apr. 27, 2016) (stating that subsection (e)(2) is not predicated upon “a finding that the

  opposing party was prejudiced by the failure to preserve [ESI]” and that “[p]rejudice is inferred

  by [a] court’s finding of intent”). Because there is an ample basis for the Court to find Defendant

  Marrero acted with intent to deprive, Plaintiff begins her analysis, there.

             1.      Intent to Deprive

         Defendant Marrero’s intent to deprive Plaintiff of relevant documents manifests through

  his incongruent explanations related to the missing text messages and a broader pattern of either

  not producing documents that exist (based on witness testimony), or partially producing documents

  responsive to Plaintiff’s document requests.

                     a.    The iCloud Storage Explanation for the New iPhone

         As to the loss of text messages on his new iPhone, Mr. Marrero testified that he transferred

  everything from his old iPhone to his new iPhone at the time he purchased his new iPhone.

  Marrero Dep. II at 33:10-17. However, Mr. Marrero also testified that he no longer had text

  messages with Ms. DeMartino and other relevant employees of Empire. Marrero Dep. II at 33:18-

  21. When asked what happened to the text messages, Defendant Marrero responded that “[f]or

  some reason my new phone, my ICloud, ICloud storage is full.” Marrero Dep. II at 33:25-34:1.

  But Defendant Marrero’s full iCloud storage would have no impact on and certainly would not

  delete, the text messages saved on the iPhone memory, and about which Defendant Marrero

  testified were transferred when he purchased the new iPhone (Defendant Marrero did not claim



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   his iPhone storage was full). Since Defendant Marrero offered an implausible explanation for the

   deletion of the text messages on his new iPhone, it is more likely than not that he was not truthful

   about what caused the deletion in order to cover up his intentional act of deleting the text messages.

                       b.    Wiped Old iPhone to Upgrade a Friend’s Phone

           Defendant Marrero’s story on his admitted deletion of the text message on his old iPhone

   is similarly implausible. Defendant Marrero testified that he wiped his old iPhone because he

   wanted to give it to a friend to upgrade her phone. Marrero Dep. II at 36:12-19. Defendant Marrero

   then testified that, after handing his old iPhone to his friend, she immediately gave it back to him

   because the camera did not work. Marrero Dep. II at 36:25-37:3. This testimony is remarkable for

   two reasons. First, Defendant Marrero would not have provided the iPhone to a friend as an

   “upgrade” if the camera was not functioning. Second, and more concerning, Defendant Marrero

   testified that his friend was immediately able to determine that the camera was not working before

   she even set up the iPhone. Marrero Dep. II at 37:6-24. But, a person cannot access the camera

   function on iPhone, or any other function or application, until after the iPhone is set up (if the

   phone was wiped, it would be like a new phone).2 Thus, Defendant Marrero’s explanation for

   wiping the text messages on his old iPhone makes no sense and further supports that Defendant

   Marrero was really trying to hide his text messages on the old and new iPhones in order to deprive

   Plaintiff of evidence material to the litigation.

                       c.    Broader Pattern of Missing or Partially Produced Documents

           Defendant Marrero’s deletion of his text messages is part of a broader pattern of either not

   producing documents testified to exist or partially producing relevant documents. As noted above,



   2
          Defendant Marrero still has possession of his old iPhone and Plaintiff intends to have
   Defendant Marrero bring the old iPhone to trial to demonstrate the impossible nature of the
   explanation.
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   there are more than 36 pages of text messages that Defendant Marrero testified to having, but that

   no longer exist. Neither Defendant Marrero nor Empire have produced Defendant Marrero’s

   contract with Empire, about which multiple witnesses testified. See Relevant Excerpts from

   Deposition of Anthony Messina (“Messina Dep.”), June 2, 2023, attached as Ex. F, at 224:22-

   225:6 (former Vice President testifying that Defendant Marrero signed contract with Empire);

   Marrero Dep. at 55:22-56:2. There is also no record of Defendant Marrero transmitting a final

   performance warning to Empire that he claims should exist, including possibly in his text

   messages. See Marrero Dep. at 255:14-22, 260:18-24, 261:25-262:12, 263:7-13, 264:11-265:10.

          The deletion of text messages also appears to be part of Defendants’ attempt to hide the

   fact that Defendants were actively searching for Plaintiff’s replacement during her employment

   and were untruthful to her about doing so. Plaintiff requested all job posting and related documents

   in her document requests. See Relevant Excerpts from Defendants’ Objections and Responses to

   Plaintiff’s First Requests for Production, attached as Ex. G, at Nos. 13 and 14. Defendants agreed

   to produce responsive documents during the relevant period. However, Defendants did not

   produce any documents related to the Manager position posted during Plaintiff’s employment,

   instead producing only a screenshot of the position. Only after discovering that Defendants had

   used the wrong date for an ESI search of emails that resulted in an extension of discovery (see

   D.E. 54), did Plaintiff receive emails about candidates who applied for the position. Even then,

   Plaintiff received information for only 13 of the 27 applicants. At the supplemental deposition of

   Leah Molino, Plaintiff also learned that Ms. Molino believed she provided a list of candidates for

   the Manager position to her first attorneys. See Relevant Excerpts from Deposition of Leah Molino

   (“Molino Dep.”), September 13, 2023, attached as Ex. H, at 25:3-15. While after the deposition

   Ms. Molino took a screenshot of the list of candidates from Indeed, Defendants have not provided



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   an explanation for why the list of candidates (either previously produced or readily accessible) was

   not produced.

           And most relevant to the spoilation of text messages, Defendant Marrero at his

   supplemental deposition denied that he was interviewing candidates for a Manager position at

   Christi’s and claimed that the posting was part of a general effort to look for talent even if a specific

   position did not exist. Marrero Dep. II at 12:12-13:24. But Plaintiff was able to obtain a declaration

   and documents from one candidate showing that the position was specifically for Christi’s. See

   Ex. E, at ¶¶ 4, 7-10. This candidate also remembers texting with Mr. Marrero about the Manager

   position but cannot locate those text messages. Id. at ¶ 12. And, of course, Defendant Marrero

   cannot produce the text messages since he deleted them.

           The above evidence strongly supports that Defendant Marrero’s deletion of his text

   messages was no accident, but rather, was intentional conduct designed to deprive Plaintiff from

   obtaining relevant information that would contradict Defendant Marrero’s testimony.

               2.      Prejudice

           “It is well accepted that discerning what ESI has been lost and the possible probative value

   of that information can be quite challenging. As a result, neither party is automatically tasked with

   the burden of proof on the issue of prejudice under Rule 37(e)(1).” Doe, 2023 WL 2918507, at

   *11. Thus, Rule 37 affords the Court “discretion to determine how best to assess prejudice in

   particular cases.” Id. This approach reflects a recognition that “[t]ypically, only the spoliator

   knows how much prejudice has been caused by the destruction.” Doe, 2023 WL 2918507, at *11

   (quoting Nationwide, 2019 WL 5700288, at *10 (citation omitted).

           Here, Defendant Marrero started supervising Plaintiff days after she disclosed that she was

   pregnant and was a decisionmaker in the termination decision. Defendant Marrero would therefore



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   be the individual most likely to have documents relevant to the claims and defenses in this action.

   The fact that Defendant Marrero admits he did not have those text messages, and did not review

   them in connection with Plaintiff’s Document Requests, necessarily prejudiced Plaintiff from

   obtaining evidence that could reasonably have been expected to support her claims or contradict

   the defenses, or both. Moreover, preserving only the text messages with Plaintiff is insufficient

   for communications with others about Plaintiff, or the relevant topics identified in Plaintiff’s

   document requests, about which Defendant Marrero admitted to texting others on an ongoing basis.

   See generally, Exs. D and G (document requests); Ex. A (admissions). As mentioned above, there

   is at least one candidate that Defendant Marrero contacted about a manager position at Christi’s

   during Plaintiff’s employment and there are probably numerous others. Thus, in addition to

   showing an intent to deprive, Plaintiff was also prejudiced by Defendant Marrero’s conduct.

          F.      Sanctions Requested

          If the Court determines that Plaintiff satisfied only the prejudice element in subsection

   (e)(1), Plaintiff requests that she be permitted to present evidence regarding the missing text

   messages at trial, which would allow the jury to “consider the loss of that evidence, and the

   circumstances under which it was lost, in evaluating witness credibility and making other factual

   determinations.” Charlestown Cap. Advisors, LLC v. Acero Junction, Inc., et al., 337 F.R.D. 47,

   68-69 (S.D.N.Y. 2020).3 Importantly, granting Plaintiff the right to present such evidence would



   3
      See, e.g., Wilson v. HH Savannah, LLC, No. CV420-217, 2022 WL 3273714, at *2 (S.D. Ga.
   July 28, 2022) (“The Court agrees that the appropriate sanction in this case is to “allow[ ] the
   parties to present evidence to the jury concerning the loss and likely relevance of information and
   instructing the jury that it may consider that evidence, along with all the other evidence in the case,
   in making its decision.”); Manning v. Safelite Fulfillment, Inc., 2021 WL 3557582, at *10 (D.N.J.
   Apr. 29, 2021) (“The Court concludes that the appropriate sanction here is to permit defendants to
   present evidence to the jury regarding [the] deletion[.]”); Karsch v. Blink Health Ltd., 2019 WL
   2708125, at *27 (S.D.N.Y. June 20, 2019) (“As an additional sanction, defendants will be
   permitted to present evidence to the jury concerning [the spoliation], and the jury will be permitted
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   “ensure that the [jury would] have the full context for the [potential] evidentiary imbalance that

   [may] become apparent at trial, which is itself relevant evidence going to the parties’ credibility

   and other factual issues.” Id. Plaintiff also requests that the Court give a jury instruction to “assist

   in its evaluation of such evidence or argument.” Advisory Notes to Rule 37 (“In an appropriate

   case, it may be that serious measures are necessary to cure prejudice found by the court, such as

   forbidding the party that failed to preserve information from putting on certain evidence,

   permitting the parties to present evidence and argument to the jury regarding the loss of

   information, or giving the jury instructions to assist in its evaluation of such evidence or argument,

   other than instructions to which subdivision (e)(2) applies.”).

           If the Court determines there was an intent to deprive, Plaintiff requests an adverse

   inference instruction requiring the jury to infer that the information lost was unfavorable to

   Defendants, in addition to presenting the evidence to the jury. The record is also replete with

   Defendant Marrero’s implausible explanations regarding the missing text messages, which

   Plaintiff submits should warrant such an instruction.

                                             CONCLUSION

           Plaintiff respectfully requests that this Court grant her motions for sanctions pursuant to

   Rule 37(e) and any other such further relief as this Court deems just and proper under the

   circumstances.

                                    RULE 7.1(a) CERTIFICATION

           Pursuant to Local Rule 7.1(a)(3), counsel for the movant has conferred with Defendants’




   to consider that evidence[.]”); Franklin v. Howard Brown Health Ctr., 2018 WL 4784668, at *7
   (N.D. Ill. Oct. 4, 2018) (“it is recommended that parties be allowed to present evidence and
   argument to the jury regarding the defendant's destruction/failure to preserve electronic evidence
   in this case[.]”).
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   counsel in a good faith effort to resolve the issues raised in the motion and Defendants oppose the

   requested relief.

   Dated: October 11, 2023                      Respectfully Submitted,


                                                 _____________________
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 11th day of October 2023, a true and correct copy of the

   foregoing has been served via the Court’s CM/ECF system, which counsel understands will

   transmit copies to counsel of record.


                                                ____________________
                                                Bryan Arbeit, Esq.
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